Case 1:24-cr-00019-TSC Document 1-1 Filed 09/26/23 Page 1 of 13
         Case 1:24-cr-00019-TSC Document 1-1 Filed 09/26/23 Page 2 of 13




President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                   Identification of Lee Stutts

        Following the January 6, 2021, attack on the Capitol, FBI agents reviewed open-source
video, body-worn camera (“BWC”) footage of Metropolitan Police Department (“MPD”) officers,
and closed-circuit video (“CCV”) maintained by the United States Capitol Police (“USCP”).
During that review, agents identified an individual who assaulted USCP and MPD officers and
attempted to disrupt police barricades, as detailed further below. The subject, later identified as
LEE STUTTS (“STUTTS”), is a white male. On January 6, 2021, STUTTS was wearing a blue
“2020 Trump Keep America Great” shirt over a long-sleeved black and gray camouflage print
hoodie. He was also wearing a black helmet with a U.S. Marine Corps logo sticker on the back, an
American flag and eagle print neck gaiter, and a black and white backpack.




                       Image 1                                               Image 2

       The FBI Office of Public Affairs included then-unknown STUTTS in its “Seeking
Information” list. The FBI posted a “Be on the Lookout” (“BOLO”) for the individual depicted in
the Photos A, B, and C below. The posting referred to STUTTS as “57-AFO” and requested the
public’s help in identifying him.




                                                 2
         Case 1:24-cr-00019-TSC Document 1-1 Filed 09/26/23 Page 3 of 13




            57- AFO Photo A               57-AFO Photo B             57-AFO Photo C

        I compared the BOLO photos of STUTTS to his North Carolina driver’s license photograph
and publicly available social media profiles. The individual depicted in the BOLO photos appeared
to be the person depicted in the driver’s license photo and the social media photos. Further queries
show that STUTTS was a former marine and was last known to live in Terrell, North Carolina.

       On July 10, 2023, I conducted a voluntary interview with an individual (hereinafter
“Witness 1”) at Witness 1’s residence. Witness 1 has known STUTTS for several years. Upon
showing Witness 1 the photos of 57-AFO depicted above, Witness 1 identified STUTTS as the
individual in the photos.

                           Lee Stutts’s Conduct on January 6, 2021

       Based on my review of open-source video, USCP CCV, and BWC footage from January
6, 2021, I observed the following:

        At approximately 1:00 p.m., STUTTS arrived on the western grounds of the U.S. Capitol
building after attending the “Stop the Steal” rally on the Ellipse. He quickly made his way through
previously broken fencing and over a wall to join other rioters on the west plaza. He can be seen
waiving other rioters on as he made a beeline for the line of USCP officers blocking the way to
the southwest steps of the Capitol.

       At approximately 1:10 p.m., STUTTS approached that line of USCP officers. At one point,
he wrapped his arms around a USCP officer from behind:




                                                 3
        Case 1:24-cr-00019-TSC Document 1-1 Filed 09/26/23 Page 4 of 13




              Image 3: STUTTS with his arms wrapped around a USCP Officer

       Shortly after, on at least two separate occasions, STUTTS shoved a USCP officer from
behind with both hands:




                         Image 4: STUTTS shoving a USCP officer




                                            4
Case 1:24-cr-00019-TSC Document 1-1 Filed 09/26/23 Page 5 of 13
        Case 1:24-cr-00019-TSC Document 1-1 Filed 09/26/23 Page 6 of 13




       Moments later, rioters succeeded in pulling bike racks away from the officers and the line
was broken. As several officers moved into the crowd to regain control of the bike racks, STUTTS
rushed them, shoving MPD Officer J.C. in the back with two hands:




                  Image 7: STUTTS shoving an MPD Officer J.C. in the back

       Other officers, including MPD Officer J.G., moved into the crowd to assist MPD Officer
J.C. As MPD Officer J.G. approached, STUTTS shoved him in the chest with two hands:




                    Image 8: STUTTS shoving MPD Officer J.G. in the chest


                                               6
Case 1:24-cr-00019-TSC Document 1-1 Filed 09/26/23 Page 7 of 13
        Case 1:24-cr-00019-TSC Document 1-1 Filed 09/26/23 Page 8 of 13




                  Image 11: STUTTS holding onto the billboard battering ram




                 Image 12: STUTTS pushing a barricade against police officers

     The police were ultimately able to take the sign from the rioters. Shortly after, I observed
STUTTS throw a water bottle toward the line of police:




                                               8
Case 1:24-cr-00019-TSC Document 1-1 Filed 09/26/23 Page 9 of 13




  Image 13: STUTTS throwing a water bottle in the direction of the police




  Image 14: STUTTS throwing a water bottle in the direction of the police




                                    9
Case 1:24-cr-00019-TSC Document 1-1 Filed 09/26/23 Page 10 of 13
Case 1:24-cr-00019-TSC Document 1-1 Filed 09/26/23 Page 11 of 13
       Case 1:24-cr-00019-TSC Document 1-1 Filed 09/26/23 Page 12 of 13




     Based on the foregoing, your affiant submits that there is probable cause to believe that
STUTTS violated:


   a) 18 U.S.C. §§ 111(a)(1) and 111(b), which make it unlawful to forcibly assault, resist,
      oppose, impede, intimidate, or interfere with any person designated in Section 1114 of Title
      18 while engaged in or on account of the performance of official duties, including while
      using a deadly or dangerous weapon. For purposes of Section 111 of Title 18, United States
      Capitol Police Officers constitute persons designated in Section 1114 of Title 18

   b) 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to
      obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
      engaged in the lawful performance of his official duties incident to and during the
      commission of a civil disorder which in any way or degree obstructs, delays, or adversely
      affects commerce or the movement of any article or commodity in commerce or the
      conduct or performance of any federally protected function. For purposes of Section 231
      of Title 18, a federally protected function means any function, operation, or action carried
      out, under the laws of the United States, by any department, agency, or instrumentality of
      the United States or by an officer or employee thereof. This includes the Secret Service’s
      protection of the Vice President and his family and the Capitol Police’s protection of the
      U.S. Capitol.

   c) 18 U.S.C. § 1752(a)(1), (a)(2), and (a)(4) which make it a crime to (1) knowingly enter or
      remain in any restricted building or grounds without lawful authority to do; (2) knowingly,
      and with intent to impede or disrupt the orderly conduct of Government business or official
      functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
      restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts
      the orderly conduct of Government business or official functions; and (4) knowingly
      engage in any act of physical violence against any person or property in any restricted
      building or grounds; or attempt or conspire to do so. For purposes of Section 1752 of Title
      18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of
      a building or grounds where the President or other person protected by the Secret Service,
      including the Vice President, is or will be temporarily visiting; or any building or grounds
      so restricted in conjunction with an event designated as a special event of national
      significance.

   d) 40 U.S.C. § 5104(e)(2)(D) and (F), which make it a crime to (D) willfully and knowingly
      engage in disorderly and disruptive conduct within Capitol Grounds or any of the Capitol
      Buildings and (F) engage in an act of physical violence in the Grounds or any of the Capitol
      Buildings.




                                               12
        Case 1:24-cr-00019-TSC Document 1-1 Filed 09/26/23 Page 13 of 13




                                             FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 26th day of September 2023.



                                             _______________________________________
                                             HONORABLE MOXILA A. UPADHYAYA
                                             U.S. MAGISTRATE JUDGE




                                               13
